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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE SUBPOENA ISSUED IN:                        Misc No. 1:21-mc-00194

 MWK Recruiting, Inc. v. Jowers, et al.
 pending in the U.S. District Court for the
 Western District of Texas,                       CERTIFICATE OF SERVICE
 Case No. 1:18-cv-00444-RP

 BREAKING MEDIA, INC.
 dba ABOVE THE LAW,

                                   Petitioner,

                  -against-

 EVAN P. JOWERS,

                                 Respondent.


       I hereby certify that on February 18, 2021, I electronically mailed to Respondent’s

counsel, Robert Tauler, Esq., the Notice of Motion To Quash Non-Party Subpoena; Korzenik

Declaration with Exhibits A, B, C; Memorandum of Law; Miscellaneous Cover Sheet; and

Corporate Disclosure Statement filed in this action (ECF Doc. Nos. 1-5).



Dated: New York, New York                     MILLER KORZENIK SOMMERS RAYMAN LLP
       February 18, 2021
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